 8:13-cr-00378-JFB-SMB             Doc # 31   Filed: 12/02/13     Page 1 of 1 - Page ID # 46




                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                       )
                                                )                  8:13CR378
                      Plaintiff,                )
                                                )
       vs.                                      )                    ORDER
                                                )
CLARENCE DENNIS, JR., and                       )
VERONICA RAY,                                   )
                                                )
                      Defendants.               )


       This matter is before the court on the motion for an extension of time by defendant
Veronica Ray (Filing No. 30). Ray seeks additional time in which to file pretrial motions in
accordance with the progression order. Ray's counsel represents that government's counsel
has no objection to the motion. Upon consideration, the motion will be granted as to both
defendants.


       IT IS ORDERED:
       Defendant Ray's motion for an extension of time (Filing No. 30) is granted. Both of the
defendants are given until on or before December 19, 2013, in which to file pretrial motions
pursuant to the progression order. The ends of justice have been served by granting such
motion and outweigh the interests of the public and the defendants in a speedy trial. The
additional time arising as a result of the granting of the motion, i.e., the time between
December 2, 2013, and December 19, 2013, shall be deemed excludable time in any
computation of time under the requirement of the Speedy Trial Act for the reason defendants'
counsel require additional time to adequately prepare the case, taking into consideration due
diligence of counsel, and the novelty and complexity of this case. The failure to grant additional
time might result in a miscarriage of justice. 18 U.S.C. § 3161(h)(7)(A) & (B).
       DATED this 2nd day of December, 2013.
                                                    BY THE COURT:

                                                    s/ Thomas D. Thalken
                                                    United States Magistrate Judge
